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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA          )
                                  )
    v.                            )    CRIMINAL ACTION NO.
                                  )       2:12cr84-MHT
DOUGLAS MURRY, III,               )           (WO)

                              JUDGMENT

    It is the ORDER, JUDGMENT, and DECREE of the court

as follows:

    (1) The government’s motion to dismiss (doc. no.

         167) is granted.

    (2) Counts four and five of the indictment (doc.

         no. 1) are dismissed without prejudice.

    (3) Count one of the indictment (doc. no. 1) is

         dismissed without prejudice to the extent it

         pertains to defendant Douglas Murry, III.

    (4) Defendant Douglas Murry, III is discharged.

    DONE, this the 16th day of October, 2012.


                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
